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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON




Kathryn Dunlap et al,

               Plaintiffs,                                 Civ. No. 2:21-cv-00942-HL

                        v.                                  JUDGMENT


 Secretary of Agriculture et al,

               Defendants.

_____________________________________


       This case is DISMISSED.


       DATED: September 7, 2022

                                         Melissa Aubin, Clerk

                                         By    /s/ D. St. Germain
                                               Deputy Clerk




1 –JUDGMENT
